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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 4:08CR3028-2
                                             )
              V.                             )
                                             )
JUAN R. ANAYA,                               )                    ORDER
                                             )
                     Defendant.              )
                                             )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:07CR251
                                             )
              V.                             )
                                             )
PETRA ODILA ORTEGA-SOSA,                     )                    ORDER
                                             )
                     Defendant.              )

       At the request of Chief Judge Bataillon, today I conferred with him regarding the
above-styled cases. I have been assigned the Anaya case and Judge Schreier has been
assigned the Ortega-Sosa case. Carlos Monzon represents the defendants in both cases.
Both cases have been scheduled for trial commencing on May 5, 2008 (or shortly thereafter).
Both cases require interpreters. Mr. Monzon has advised Chief Judge Bataillon that he is
scheduled for an appearance in a state matter in the western part of the state on Monday, May
5, 2008, but he is available for trial on May 6, 2008.

      It is obvious that Mr. Monzon cannot try two federal cases at the same time.
Therefore,

       IT IS ORDERED that:
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        (1)     In United States v. Juan R. Anaya, this matter is continued until further order
of the court and Judge Piester is requested to set a trial date. The time between this date and
the trial date set by Judge Piester is excluded from computation under the Speedy Trial Act
and in the interest of justice. See 18 U.S.C. § 3161.

       (2) In United States v. Petra Odila Ortega-Sosa, counsel for the government and
Mr. Monzon shall contact Judge Schreier regarding the starting time for the trial of that
matter.

       (3)    The Clerk of the Court shall provide copy of this memorandum and order to
Chief Judge Bataillon, Judge Schreier, Magistrate Judge Piester, counsel of record for both
cases, and staff interpreter Laura Garcia-Hein.

       April 28, 2008.                             BY THE COURT:

                                                   S/Richard G. Kopf
                                                   United States District Judge




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